     Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 1 of 14 PageID #:5987



                          IN   THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS


    Snyder, et al.                                Case No. 1:14-cv-8461
                                                  (related to Snyder v. U.S. Bank, N.A.,
                     v.                           et al., No. 16-cv-11675)

    Ocwen Loan Servicing, LLC                     Hon. Matthew F. Kennelly



                          Response re Order to Show Cause (dkt. 290)


       There is no basis in law or fact to remove Ankcorn Law Firm PLLC (the “Firm”)

as Class Counsel from this matter. As the original filing attorneys, the Firm carried

this action from pre-filing investigation through the early phases of discovery and

continued to lead the case through negotiation of the settlement.

       Attorneys and staff of the Firm have dedicated hundreds of hours of time and

expended tens of thousands of dollars to prosecute this matter, developing crucial

evidence in support of the successful motion for a preliminary injunction and

effectively negotiating a favorable settlement for the class. The Firm has extensive class

action and Telephone Consumer Protection Act (“TCPA”) experience that has been

invaluable in reaching that settlement. Ankcorn Decl., ¶¶ 30-33.

       The Firm has represented the class at all times in an ethical manner and has not

breached any duties to its clients, including the members of the settlement class.

Ankcorn Decl., ¶ 23. Any representation to the contrary is false and is only made for

personal gain.1



1
 Both Ocwen and co-counsel have personal incentives to attempt to have the Firm removed as
Class Counsel that have nothing to do with concern for the class or the settlement.



                                              1
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 2 of 14 PageID #:5988



                                I.     Procedural History

    The Firm was the original filing counsel, identifying potential representative

plaintiffs and investigating for viable causes of action. If not for the Firm’s efforts,

neither the action nor the settlement would exist.

    Even before Plaintiff Keith Snyder contacted the Firm and related his experiences,

the Firm had represented several clients with claims against Ocwen and made repeated

applications for loan modifications on behalf of one former client. Ankcorn Decl., ¶ 4.

Indeed, alone among Class Counsel, the undersigned has spoken on dozens of occasions

with Ocwen telephone staff and was repeatedly called by Ocwen when a former client

gave the Firm’s office phone number as the best point of contact. Id. This familiarity

with Ocwen and its calling practices has been invaluable to the successful prosecution

of this class action. Id.

    This lawsuit was filed on October 27, 2014, and the Firm filed two Motions for

Class Certification the next day. Dkt. 1, 4, 7. On November 13, 2014, The Cabrera

Firm, APC joined as co-counsel at the invitation of Mr. Ankcorn, even though that

firm had never handled a TCPA case before. Dkt. 9. On December 22, 2014, Ocwen

filed a motion to dismiss, which the Firm successfully opposed. Dkt. 20 (Motion), 25

(opposition), 33 (Order denying motion). In March, the Firm prepared initial discovery

requests that were served on May 8, 2015. Ankcorn Decl., ¶ 5.

    On April 16, 2015, approximately six months after this action was initiated, an

Amended Complaint was filed adding plaintiff Susan Mansanarez to the case, and

bringing the Terrell Marshall Law Group PLLC in to the lawsuit as co-counsel for the

named plaintiffs. Dkt. 29. Discovery continued and on November 13, 2015, Mr.

Ankcorn defended the deposition of Mr. Snyder. Ankcorn Decl., ¶ 7.



                                              2
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 3 of 14 PageID #:5989



    On May 25, 2016, the parties, including Mr. Ankcorn, conducted an all-day

mediation session in Chicago with the Hon. James Holderman (ret.). Ankcorn Decl., ¶

7. The parties were unable to reach a deal. Id. Discovery continued and on October 6,

2015, the Firm filed a motion to compel the production of documents. Dkt. 49.

    On February 17, 2016, approximately one year and four months after the action was

filed, Burke Law Offices, LLC made its initial appearance on behalf of the plaintiffs

and putative class. Dkt. 60.

    On April 15, 2016, June 21 and 23, 2016, and January 4, 2017, the depositions of

various Ocwen employees were taken. Ankcorn Decl., ¶ 8.

    Plaintiffs filed a second motion to compel on June 9, 2016. Dkt. 74.

    On October 4, 2016, Plaintiffs moved for a class-wide preliminary injunction using

witnesses that had been identified solely by the Firm and using a memorandum of law

that had been initially drafted by the Firm. Dkt. 97.

    On October 14, 2016, the parties, including Mr. Ankcorn, had a second all-day, in-

person mediation sessions in West Palm Beach, Florida. Ankcorn Decl., ¶ 9. As before,

the parties were unable to reach a deal.

    On December 7, 2016, Mr. Ankcorn flew to Jacksonville, Florida to defend the

deposition of Jonathan Cody, a witness who had been identified by the Firm’s

investigation and who offered sworn testimony in support of Plaintiffs’ preliminary

injunction motion. Id., ¶ 10. On December 15 and 16, 2016, Mr. Ankcorn defended the

depositions of Steve and Karen Bartolone in Santa Ana, California, both witnesses who

had similarly been identified by the Firm’s investigation. Id., ¶¶ 11-12.

    On April 3, 2017, an evidentiary hearing was held on the motion for preliminary

injunction, and Ms. Hansen appeared on behalf of the Firm. Dkt. 204. Ms. Hansen had



                                             3
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 4 of 14 PageID #:5990



contributed substantially to the preparation for that hearing by reviewing thousands of

pages of documents produced by Ocwen that related to its witness’ testimony. Hansen

Decl., ¶ 4.

    On May 19, 2017, the Firm filed a lawsuit against Ocwen in the United States

District Court, Southern District of Florida, on behalf of five individuals who had been

called on their cell phones by Ocwen’s automatic dialer without their prior express

consent in violation of the TCPA and Florida law. Ankcorn Decl. ¶ 13; Graham, et al. v.

Ocwen Loan Servicing, LLC, No. 9:17-cv-80639 KAM (“Graham”). The Firm’s involvement

in Graham was minimal, and was undertaken at the request of the Hyde & Swigart law

firm as they had not yet hired an attorney admitted to practice in Florida. Ankcorn

Decl., ¶ 14. At the time of filing, there was no indication that Ocwen was interested in

settling any litigation matter, particularly not this class action. Id., ¶ 15.

    Additional plaintiffs were added by an amended complaint on October 20, 2017,

which also brought Hyde & Swigart into the action as counsel for all plaintiffs. Id., ¶

16. The Firm did not sign the amended complaint in Graham, had not participated in its

drafting or preparation, and withdrew formally from the action on December 6, 2017

after having notified Ocwen weeks prior that it was no longer involved in that

litigation. Id., ¶ 17.

    On May 26, 2017, Plaintiffs moved to certify three subclasses of persons who had

been called by Ocwen on their cell phones without their consent. Dkt. 216. A few days

later, counsel for Ocwen reached out to Plaintiffs’ counsel to suggest that the parties

meet for a third mediation session. Ankcorn Decl., ¶ 18.

    On June 28, 2017, the Court found that “Plaintiffs have established the basis for

certification of a limited class . . . and entitlement to at least some of the preliminary



                                               4
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 5 of 14 PageID #:5991



injunctive relief they seek” and ordered additional briefing to determine the scope of

relief that would be ordered. Dkt. 223.

    On July 20, 2017, the parties, including Mr. Ankcorn, attended a mediation with

the Hon. Morton Denlow (ret.) in Chicago. Dkt. 243. On July 28, 2017, the parties

notified the Court that they had reached a settlement and jointly moved to stay the

proceedings. Dkt. 243.

    This case has been highly contested and vigorously litigated, with the active

leadership of the Firm. Its attorneys have appeared at three separate mediations, at four

depositions, and before this Court in person and in telephonic conferences on at least

18 occasions, including the contested evidentiary hearing where Ocwen’s vice president

Ms. Goodman testified. Ankcorn Decl., ¶ 19. Ms. Hansen from the Firm, along with

Ms. McEntee of Terrell Marshall, led the preparation for that hearing and Ms. Hansen

personally spent over 15 hours over the weekend reviewing thousands of pages of

documents in preparation for the hearing. Hansen Decl., ¶ 4.



                                    II.    Argument

     A. The Firm Breached No Ethical Rules in Briefly Representing Individual
        Plaintiffs in an Unrelated Proceeding

    Simultaneous representation of multiple plaintiffs against a single defendant is

neither misconduct nor an ethical violation, whether before or after class certification,

so long as the interests of the plaintiffs and class members are not adverse to each

other. The primary example of when those interests conflict is where multiple

claimants are seeking recovery from a limited fund, such as where a single common

fund is used to settle claims by persons who have been injured and claims of persons




                                            5
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 6 of 14 PageID #:5992



who will be injured in the future by the same course of conduct or by the same

product. See, e.g., Ortiz v. Fibreboard Corp., 527 U.S. 815, 856 (1999) (“for the currently

injured, the critical goal is generous immediate payments, but that goal tugs against the

interest of exposure-only plaintiffs in ensuring an ample, inflation-protected fund for

the future.”) (quoting Amchem Prods. v. Windsor, 521 U.S. 591, 626 (1997)); see also Smith v.

Ga. Energy USA, LLC, 2014 U.S. Dist. LEXIS 133899, *3 (S.D. Ga., Sept. 23, 2014)

(representation of class and individual plaintiffs not permitted “in light of the advanced

stage of this litigation and the substantially depleted pool of funds from which both of

Class Counsel’s clients now seek relief.”).

    Where those concerns are absent, simultaneous representation is entirely proper.

See, e.g., In re Sea Star Line, LLC, 2017 WL 485700, *53-54 (M.D. Fla., Feb. 6, 2017)

(estates of three passengers killed during Staten Island Ferry crash could be represented

by the same law firm, at least until damages phase of litigation); D.C. Bar Ethics Opinion

301 (July 2000) (interpreting Rule 1.7 to permit simultaneous representation of a

certified class and individual class members in litigation against government entity).

    The treatise Newberg on Class Actions § 3:75 (5th ed. 2001) describes these

limitations in detail, and is worth quoting in full:

       Like a lawyer in any litigation, a class action attorney may not
       simultaneously represent two clients if those clients’ interests are directly
       adverse or if there is significant risk that the dual representation will
       materially limit the lawyer’s representation of one client. Such attorney
       conflicts, like those of the class representative, are material to the question
       of whether the proposed class counsel can adequately represent the class;
       but as with class representatives, only client conflicts that are material and
       presently manifest — rather than merely trivial, speculative, or contingent
       on the occurrence of a future event — will affect the adequacy of class
       counsel.




                                               6
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 7 of 14 PageID #:5993



Id. (internal footnotes omitted). According to Newberg, “[i[n general, class counsel may

represent multiple sets of litigants—whether in the same action or in a related

proceeding—so long as the litigants’ interests are not inherently opposed.” Id.

Concurrent representation may be beneficial in some situations and courts have found

counsel inadequate due to conflicts only where “the recovery of one group in one forum

inherently conflicts with the recovery of the other.” Id. Newberg gives examples such as

where a limited fund means that the recovery of one claimant will cut directly into

recovery by another, where substantive law permits recovery by only one or the other

set of litigants, where one client is litigating an appeal to a class action settlement in

which another client claimed recovery, and where counsel’s actions have generated

conflicts between class representatives and the class. Id.

       The Model Rules of Professional Conduct Rule 1.7(a) states:

       a lawyer shall not represent a client if the representation involves a
       concurrent conflict of interest. A concurrent conflict of interest exists if: (1)
       the representation of one client will be directly adverse to another client;
       or (2) there is a significant risk that the representation of one or more
       clients will be materially limited by the lawyer’s responsibilities to another
       client, a former client or a third person or by a personal interest of the
       lawyer.

    None of those concerns are present here. The interests of the settlement class and

the individual plaintiffs who have excluded themselves from the settlement are directly

aligned, and have been so throughout, both before and after certification of the

settlement class. Unlike the subclasses in Ortiz, both the plaintiffs in the individual

actions and the class members have identical and congruent litigation objectives, which

is the opposite of the sort of conflict which can raise an issue of disqualification. See,

e.g., Andrews Farms v. Calcot, Ltd., 2010 WL 4010146, at *3-4 (E.D. Cal. 2010) (denying

defendant’s motion to disqualify class counsel when defendant could not show that the



                                              7
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 8 of 14 PageID #:5994



two sets of clients were presently “taking adverse positions to one another” or that the

alleged conflicts were “manifest and glaring”).

    Both the Graham plaintiffs and the Settlement Class want to prove that Ocwen used

an automatic telephone dialing system to make calls to their cell phones without

consent. Each alleges that the same Aspect dialer had the same characteristics and

capacity to dial numbers from a stored list, and that Ocwen had few if any safeguards

in place to ensure that it was only calling numbers for which it had consent.

    Ocwen has never claimed that its funds are so limited that additional litigation will

bankrupt it, but even the total collapse of Ocwen now would have little if any impact

on the class settlement since the entire $17.5 million common fund was placed into

escrow with the settlement administrator on November 3, 2017. Ankcorn Decl., ¶ 20.

Class members who exclude themselves from the settlement to pursue individual relief

take the risk of non-payment, not claimants, and since the net distribution is pro rata

among claimants, additional exclusions (up to the 4,000 person tip-over limit) only

serve to increase the per-claimant recovery.

    As the Newberg treatise points out, rather than creating a conflict, simultaneous

representation can often benefit both clients. See, e.g., In re Zyprexa Products Liability

Litigation, 467 F. Supp. 2d 256, 268 (E.D.N.Y. 2006) (finding that work performed by the

Plaintiffs Steering Committee (PSC) in a Federal MDL would be of substantial benefit

to plaintiffs in a parallel state proceeding when attorneys from the two cases shared

document discovery, noticed each other’s depositions, and lawyers with clients in both

cases could “use relevant knowledge gained in the federal litigation for the benefit of

their state clients”). In fact, vigorously prosecuting individual actions in addition to the

class can encourage the common defendant to reach a class-wide settlement. See, e.g.,



                                                8
  Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 9 of 14 PageID #:5995



White v. Nat’l Football League, 822 F.Supp. 1389, 1405 (D. Minn. 1993) (individual actions

were “likely a prerequisite to the parties’ ultimate agreement to settle”). So too here,

where the experience gained by members of the Firm in representing individual clients

both before and after this action was filed has benefited the class members by educating

Class Counsel about Ocwen’s business practices and providing crucial evidence in

support of Plaintiffs’ successful motion for a preliminary injunction.

    Further, the loud objections by Ocwen to the Firm’s representation of the

Settlement Class here and its former representation of individual plaintiffs in the

Graham action show that there were no conflicts in either representation. Counsel

generally cannot represent two classes against the same defendant “because defendants

have an incentive to settle all claims at once, if it settles at all, thereby creating

opportunities for counsel to manipulate the allocation of settlement dollars to the

detriment of absent class members.” Daniels v. Aéropostale West, Inc., 2014 U.S. Dist.

LEXIS 74081, *16 (N.D. Cal., May 29, 2014) (citing Ortiz). Here, the criticism by Ocwen

shows that the deal was not collusive and did not prejudice absent class members. See,

id. (“in a collusive deal the defense would be the last to criticize the deal or to criticize

counsel for plaintiff”). Ocwen has expressed no interest in settling Graham and in fact

has asked the district court to dismiss the action on a variety of grounds even after

agreeing to settle this action on a classwide basis. Graham, Motion to Dismiss for

Failure to State a Claim (dkt. 41) (filed Nov. 30, 2017).

    Finally, the Firm has now completely withdrawn from the Graham litigation and

retains no financial interest in any recovery. Indeed, the Firm extinguished its lien for

past services rendered and has notified all of the Graham plaintiffs on multiple occasions

that it will not seek payment for fees or costs incurred in that litigation. Ankcorn Decl.,



                                               9
 Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 10 of 14 PageID #:5996



¶¶ 27-28. The Firm is wholly and completely dedicated to seeing the class action

settlement through to final approval, as it has always been since it filed this action on

behalf of the class in October 2014.



B. The Firm Has Not Encouraged Class Members to Opt out of the Settlement

    Co-counsel has accused the Firm of encouraging members of the settlement class to

opt out and pursue individual relief. This is false. In all communications with class

members, the Firm has advocated for the settlement and carefully listened to the goals

and objectives of its clients, answering their questions and outlining the potential

advantages and disadvantages of each course of conduct. Ankcorn Decl., ¶ 21.

    The Firm has never encouraged any client, past or present, to take or refrain from

any lawful course of conduct. Attorneys are counselors only, not principals, and tread

on very thin ice when they advocate that their clients to undertake a specific action.

The better approach for both clients and attorneys is to identify potential risks and

benefits to all options and leave the decision to the clients. Id., ¶ 22.

    What the Firm has told members of the settlement class who inquire about their

options is no more than what is listed in the Settlement Agreement and the long-form

notice posted on the settlement website. Agreement, Exh. “C” (dkt. 252-1). The notice

describes the class member’s options, the fact that a class member must opt out in order

to pursue or maintain an individual suit, and the deadlines for making a claim or

opting out of the settlement. Id.

    This is precisely the counsel that the Firm gives to anyone who inquires, including

those persons who have already indicated their strong desire to sue Ocwen individually.

The Firm has an affirmative obligation to each and every member of the class to



                                              10
 Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 11 of 14 PageID #:5997



adequately advise the members of their rights and options. The Firm takes its ethical

obligations very seriously, and has upheld those obligations here. Ankcorn Decl., ¶ 23.

    Co-counsel’s accusations spring from their conversations with the son of a single

class member who is confused about what his father’s options are, and who appears to

be a member of an entirely unrelated settlement class in a TCPA action where the

Terrell Marshall firm has also been appointed class counsel. Id., ¶ 24 Mr. Ankcorn was

notified in late December 2017 that this person was confused about the two settlements

and what his father’s options might be with respect to both settlements. Id., ¶ 25. At no

time did any member of the Firm or any of its staff or contractors “encourage” that

person — or anyone else — to opt out of the settlement in this matter. Id., ¶ 26. And out

of an abundance of caution, the Firm immediately thereafter scoured its files to find

any other similarly situated former client who might possibly have also received a

settlement notice in this action, and notified each of them in writing of their options

with respect to this settlement. Id., ¶ 27. This letter once again notified those former

clients that the Firm had withdrawn from any individual lawsuit and confirmed that

they owed the Firm nothing for its brief representation. Id., ¶ 28.



C. Removing the Firm as Class Counsel Would be Grossly Inequitable

    The Firm has been litigating this case for more than three years and has expended

a significant amount of time, energy, and money prosecuting this action on behalf of

the class. The Firm has spent hundreds of hours of attorney work and $36,000 in out-

of-pocket costs. Ankcorn Decl., ¶ 2. Removing the Firm as class counsel would unfairly

punish the Firm because it has not breached any obligation, ethical or otherwise, to




                                             11
 Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 12 of 14 PageID #:5998



any of the members of the class and would create an undeserved windfall to the

remaining law firms, allowing them to profit from the work of the Firm.

      The Firm’s actions throughout the course of this litigation have contributed to its

success, including its initiation of the Graham lawsuit. It is impossible to know what

finally brought Ocwen to the settlement table to reach the present class-wide

agreement, but the timeline of events set out above strongly suggests that filing the

Graham litigation was the strongest impetus towards resolution. Ocwen’s counsel

proposed a third mediation session in early June, several weeks before this Court ruled

in Plaintiffs’ favor on the preliminary injunction motion — but several weeks after the

Graham lawsuit had been filed on May 19, 2017 in the federal courthouse a few blocks

away from Ocwen’s headquarters. By the time the order granting the classwide

injunction issued on June 29, the third mediation session with Judge Denlow had

already been scheduled; indeed, the parties had participated in a lengthy pre-mediation

conference call with Judge Denlow the week before on June 21, 2017 and Plaintiffs

submitted their mediation brief the same day the order was issued. Ankcorn Decl., ¶

29.

      Co-counsel for the Plaintiffs have been happy to take the benefit of the Firm’s

labors for the entire history of this litigation, including its investigation into ongoing

robo-calls that formed the basis for the successful preliminary injunction motion and

filing parallel individual litigation. Based on the slender reed of a single confused class

member (out of more than 1,600,000), co-counsel now accuses the Firm of shirking its

ethical obligations and undermining the settlement. It is nothing more than a naked

grab for the whole fee award and an attempt to cut the Firm out of any recovery; co-

counsel would obviously prefer to divide the fees by three instead of four.



                                             12
 Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 13 of 14 PageID #:5999



    But this is grossly inequitable and is without basis in law or fact. This Court

should decline the invitation to do co-counsel’s dirty work for them.


                                     III.   Conclusion

         The Firm has breached no ethical responsibilities in its brief representation of

individual claimants in a different lawsuit prior to settlement negotiations in this

action. The Firm has never and would never advocate against participation in the

settlement and has dedicated significant hours and financial resources to reaching a

settlement on a class-wide basis. As such, the Ankcorn Law Firm PLLC should remain

as Class Counsel.

         Respectfully submitted,

Dated:      January 16, 2018                  ANKCORN LAW FIRM PLLC
                                              /s/ Mark Ankcorn
                                              N.D. Illinois General Bar No. 1159690
                                              California Bar No. 166871
                                              Florida Bar No. 55334
                                              mark@ankcornlaw.com

                                              1060 Woodcock Road, Suite 128
                                              Orlando, Florida 32803
                                              (321) 422-2333 phone
                                              (619) 684-3541 fax

                                              Attorneys for Plaintiffs and
                                              Settlement Class




                                              13
 Case: 1:14-cv-08461 Document #: 300 Filed: 01/16/18 Page 14 of 14 PageID #:6000



                                  Certificate of Service

       I hereby certify that on the date listed above, I electronically filed the above and
foregoing notice and motion through the Court’s CM/ECF System, which perfected
service on all counsel of record.

                                             /s/ Mark Ankcorn




                                            14
